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                     In The Matter Of:
                 Great American Assurance v.
              Braddy Preparatory Academy, et al.




                  Dr. Carroll Harrison Braddy
                        March 13, 2020




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 1   A Nicaragua, Dominican Republic, and, of                1    It's the name that's in part of a property that it
 2   course, here in State of Georgia.                       2    owns. The purpose is to become a holding company for
 3   Q And what is your position there?                      3    future development properties.
 4   A CEO.                                                  4    Q Okay. And right now what property does it
 5   Q Are there any other employees?                        5    own?
 6   A No.                                                   6    A It owns property. It owns approximately
 7   Q Are you an officer or owner of DAW                    7    15 acres of property around Dodson Drive. I don't
 8   Investment Holdings?                                    8    know the exact address.
 9   A Yes.                                                  9    Q Out of the East Point -- what we've all
10   Q What is DAW?                                          10   referred to as the East Point campus?
11   A Just -- I want to make sure I answer this             11   A Yes.
12   question correctly. DAW is owned by Education System    12   Q Okay. Anything else?
13   Management.                                             13   A No, sir.
14   Q Okay. And you own Education System                    14   Q Okay. Are you involved with any other
15   Management?                                             15   companies or organizations other than the ones we've
16   A Yes.                                                  16   just gone over?
17   Q Okay. Are there any other owners of DAW?              17   A The Apostolic World Christian Fellowship.
18   A No.                                                   18   Q That's different from New Faith Apostolic?
19   Q Okay. Are there any other owners of                   19   A Yes.
20   Education System Management other than you?             20   Q And, and give me that name again.
21   A No.                                                   21   Apostolic?
22   Q What does DAW stand for?                              22   A World Christian Fellowship.
23   A My mother's name. Delores Ann Whatley.                23   Q Okay. What do they -- what does that do?
24   Q Okay. What does it do?                                24   A It's a fellowship of churches.
25   A Nothing. It's the name of the property.               25   Q And what is your position in that?

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 1   A I'm appointed to the international board of           1    apostolic worship and fellowship organization, or
 2   ministries.                                             2    your Now Faith Apostolic organization, or some other
 3   Q Can you explain that to me what that means?           3    organization?
 4   A The AWCF, which is the Apostolic World                4    A Now Faith Apostolic is a member of the
 5   Christian Fellowship, is the world's largest            5    AWCF.
 6   fellowship of independent organizations and organ --    6    Q Got you.
 7   independent organizations and independent churches      7       If you could, describe for me in layman's
 8   throughout the world.                                   8    terms what it is that Braddy Preparatory Academy
 9   Q And you are what in relation to that?                 9    does.
10   A I'm on the board of international                     10   A Braddy Preparatory Academy is a K through
11   ministries. So we oversee various regions.              11   12 fully accredited academy that specializes in
12   Q Okay. How long have you been in that                  12   working with students that have particular special
13   position?                                               13   needs/specific special needs. We work with kiddos
14   A I was appointed to that position a year               14   with autism who are on the spectrum and a host of
15   ago.                                                    15   other mental health or developmental disabilities.
16   Q And who makes that appointment?                       16   Q What about students that do not have any
17   A The executive board.                                  17   particular challenges? Do you also have those sort
18   Q Okay. And what do you have to do in that              18   of students?
19   position?                                               19   A We do. We, we have students who may not
20   A Travel, training, establishing work,                  20   have any particular challenges. We encourage
21   building ministry, collaborating with other churches    21   admissions for students who may not have any
22   and ministries in various faith-based organizations     22   particular challenges because our belief is that
23   throughout the world, and developing a collaboration    23   disability is not, in essence, a disability. It's a
24   with them so that we can all be one.                    24   gift.
25   Q And do you do that just on behalf of the              25   Q What sort of equipment, furniture, that


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 1   since you returned from East Lake to Moreland for        1    Q Okay. And so Fulton Leadership uses the
 2   Braddy Preparatory Academy's standard schooling          2    gym on occasion?
 3   functions, whether they be youth, adult, or              3    A They used it every day.
 4   whatever --                                              4    Q Were they using it when you became involved
 5   A Yes.                                                   5    with East Point?
 6   Q -- other than Moreland Avenue and Highway              6    A Yes.
 7   138 location?                                            7    Q Okay.
 8   A Yes; at East --                                        8    A It was an acting school. It was a part of
 9   Q And where was that?                                    9    their -- we allowed them to utilize the gym for both
10   A East Point.                                            10   recreation and physical education activities as well
11   Q Okay. And that was the training                        11   as classes.
12   workshops --                                             12   Q In the gym?
13   A Training workshops.                                    13   A Yes.
14   Q -- for the political entity?                           14   Q Did they utilize any other part of the
15   A Yes. And as well as the gymnasium.                     15   campus other than the gym that you were aware of?
16   Q Okay. And what was the gym used for?                   16   Fulton Leadership Academy.
17   A Physical education.                                    17   A Not that I was aware of.
18   Q For who?                                               18   Q Okay.
19   A For both Braddy Prep. And we allowed the               19   A I'm sorry. I take that back. They
20   Fulton Leadership Academy, which is a charter school.    20   utilized the volleyball court.
21   Q Are you affiliated in any way with that?               21   Q Next to the gym?
22   A No.                                                    22   A Yes.
23   Q By "you," I mean you individually, or any              23   Q Okay. You mentioned Braddy Preparatory
24   of your entities.                                        24   Academy used the gym some.
25   A No.                                                    25      How would you do that? Would you bus

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 1   students over, or...                                     1    reach out with the Y. We partner with the Y.
 2   A No. We would host recreational activities              2    Q Which location?
 3   that may have been our students, our direct students     3    A Andrew Young and I believe it's -- yeah.
 4   from Braddy Prep, or from the community.                 4    Andrew Young YMCA. We hosted summer school at Point
 5   Q How would you go about doing that? Just                5    for kiddos who were in Atlanta Public Schools.
 6   let people know the gym will be open, and if you want    6    Q For who?
 7   to use it you can come use it?                           7    A Kiddos. I'm sorry, students. Sometimes
 8   A You -- of course, school age. Everything               8    I'll say students or kiddos, but students.
 9   is therapeutic. So it's bringing kids off the            9    Q What is the word you're using there?
10   streets who are kicking a basketball around and          10   A Kiddos.
11   allowing them to utilize the gym, of course, with        11   Q Oh, kiddos?
12   coach, teachers, and, and with an objective always to    12   A Yeah.
13   develop character and to bring in mentoring and          13   Q Is that what you said?
14   intervention.                                            14   A Yeah.
15   Q How would you go about arranging for that?             15   Q Okay. You did that at East Point?
16   Was this just you would put up a poster, or you would    16   A Yes.
17   just put the word out the gym will be open these         17   Q And was that in the gym?
18   hours, or how would you go about that?                   18   A Both the gym and the classrooms in the
19   A We'd reach out to various other                        19   admin at old main.
20   organizations; the YMCA, which is another entity that    20   Q Okay. And when did you first do that?
21   we actually utilize, that we actually collaborate        21   A A year ago.
22   with. And that is twofold. One, having them to get       22   Q Two thou -- summer of 2019?
23   the word out. A lot of the kids in that community        23   A Yes.
24   are unin -- you know, they're free, free/reduced         24   Q How many students did you have?
25   lunch, so they can't afford such activities. So we       25   A I believe they had approximately 200.


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 1   natural landscape. However, my concern had always        1    down bushes? Mowing --
 2   been the trees and the power lines and certain things    2    A Chopping down bushes.
 3   like that. So what I did do, I contacted the City of     3    Q -- brush?
 4   East Point. And knowing that the city is responsible     4    A Cleaning gutters.
 5   for the power lines, I had the City of East Point to     5    Q Who -- how do you know Mr. Bryant?
 6   trim back the trees that, that were impeding or could    6    A He's a plumber. He was a plumber and did a
 7   impede, you know, the power lines. And that was          7    lot of other construction types of work.
 8   during the repair process probably in May, I'm           8    Q That he's done for you-all over the years?
 9   thinking, or some -- whenever we were repairing it.      9    A (Witness nods head.)
10   Q Who, who at City of East Point did you deal            10   Q You're going to have to answer out loud,
11   with on that?                                            11   sir.
12   A East Point Power.                                      12   A Yes.
13   Q But, I mean, a name of a person.                       13   Q Okay. All right. Can you remember
14      Do you remember the name of a person?                 14   anything else other than what you've -- those three
15   A No.                                                    15   items?
16   Q And the bulldozer that came in to clear                16   A As far as?
17   vegetation, who was that?                                17   Q Things that needed to be done to the campus
18   A A guy by the name of Gregory Bryant.                   18   before you-all could start utilizing it.
19   Q Gregory Bryant?                                        19   A We needed, we needed to replace -- we
20   A Yeah.                                                  20   needed to fix the library door system.
21   Q Did he do anything else out there other                21   Q What was wrong with it?
22   than bulldoze the vegetation from around the             22   A It would not open. It's one of those newer
23   president's house?                                       23   type of doors where, you know, you press the handicap
24   A He did a lot of cleanup.                               24   and it opens. So it would not open. Of course, the
25   Q And by that, what do you mean? Chopping                25   HVAC system for the library we had to replace several

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 1   units.                                                   1    electrical that we had. We had to fix the electrical
 2   Q What was wrong with the old units?                     2    system.
 3   A They were burned out; just not --                      3    Q What was wrong with it?
 4   Q Just old?                                              4    A It was something relative to the -- that
 5   A Yeah.                                                  5    was connected to the fire system. I don't know how,
 6   Q They were still there?                                 6    but it was, I don't know, something that the
 7   A They were still there. They were just --               7    electrical -- something was dealing with, you know,
 8   Q Okay.                                                  8    electrical that we had to fix that was related to the
 9   A -- they were just burned out. And we had               9    fire that was related to all of the doors. You know,
10   to, we had to get the -- upgrade a new system in the     10   like if there was a fire and it went off, all the
11   library for the fire, fire system.                       11   doors have to open or something.
12   Q Okay.                                                  12   Q Okay. Who did that for you?
13   A And we had to get the elevator -- Fulton               13   A Between Guy, between Gregory, which his
14   County -- I believe it's the Fulton County engineer      14   name was Guy.
15   office; whoever inspects the elevators. We had to        15   Q I've got some invoices you produced about
16   repair some things in the elevator. And, of course,      16   electrical work later. And I'll ask you --
17   we had to replace some tiles.                            17   A Okay.
18   Q Ceramic tile, or ceiling tile?                         18   Q -- when we get to that if it was somebody
19   A Ceiling tile.                                          19   else.
20   Q Okay. What had happened to that?                       20      Okay. Anybody else you can think of?
21   A It was, it was, it was no longer there.                21   A Paint.
22   Q Just missing?                                          22   Q Okay. Everywhere?
23   A Just missing. And it, and it would be like             23   A No; certain places. There was, there was a
24   maybe one tile, and then other places it may be one      24   large hole kind of opening in one of the walls in the
25   tile. And we figured that it was probably due to the     25   administrative part. And we had to get that hole --


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 1   it was more -- bigger than the patch, so it was --      1    whoever was moving out, you know, it appeared that
 2   Q Sheetrock?                                            2    they kind of maybe bumped or dropped something, you
 3   A -- Sheetrock. So we had to cut --                     3    know, like a huge file cabinet and it just kind of
 4   Q In the administrative building?                       4    put a dent. But the dent kind of went straight down.
 5   A In the library there's an administrative              5    Q Okay.
 6   wing. And there are classrooms in the library.          6    A And so what we had to do was cut cause it
 7   Q Okay.                                                 7    could not be patched. So, so what he did is he just
 8   A So in the administrative wing, there was a            8    cut, you know, cut it out, put new Sheetrock, mudded
 9   very large opening that led into another room. And      9    it, because that's -- that was required by the city
10   we had to replace that, that wall.                      10   for us to get a permit.
11   Q Okay. Any problems like that anywhere else            11   Q Okay.
12   that you were aware of?                                 12   A For, for -- we received a permit. But for
13   A We did some in Burns hall, which is the               13   us to get a CO, we had to make sure everything was
14   administrative and classroom building. We had a few,    14   from that to, you know.
15   but it was not like -- it was not replacing a wall.     15   Q Got you.
16   It was more or less a door, a door going into -- you    16       Anything else you can remember?
17   know if you don't have a door stopper, the handle       17   A Yes. We had to -- we needed to install a
18   kind of --                                              18   new toilet system in the administrative and classroom
19   Q Which building was that?                              19   building.
20   A Administrative and classroom building.                20   Q What was wrong with the one there? Were
21   Q Okay. Do you know what caused the hole in             21   the toilets there?
22   the wall that required you to replace the wall in the   22   A Wear and tear, I would think.
23   library?                                                23   Q They were still there?
24   A No. It appeared to be when Point -- if                24   A They were still there. It wasn't --
25   they were -- when they were moving out, it was --       25   Q Okay.

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 1   A -- flushing.                                          1    A Also -- I'm sorry, counsel.
 2   Q Anything else?                                        2    Q Go ahead.
 3   A He replaced a sink.                                   3    A -- a few questions, several questions back
 4   Q In the administrative building?                       4    you asked me other things that were -- we've used the
 5   A Yes.                                                  5    facilities for.
 6   Q It was still there?                                   6    Q Yes.
 7   A Yes.                                                  7    A We've used the facilities for filming as
 8   Q Anything else?                                        8    well.
 9   A There was some -- of course, we had to add            9    Q Filming?
10   several units to the administrative building; HVAC      10   A Yes.
11   units to the administrative/classroom building. We      11   Q What sort of filming?
12   also had to -- in the gym, we had to build out the      12   A Netflix needed a school to, to film their
13   stage. The stage was kind of delapidated a bit --       13   sitcom in. And we --
14   Q Okay.                                                 14   Q When was that?
15   A -- so we had to build that stage; take up             15   A Last year.
16   all the wood and lay -- build the stage back out. We    16   Q 2019?
17   also had to fix the toilet system in the gym. It was    17   A Yes.
18   continuously running.                                   18   Q How long were they there?
19   Q Okay.                                                 19   A They were there two weeks, and then they
20   A So he had to go in and replace some piping            20   came back.
21   and things like that. But this is all that I recall.    21   Q When are we talking about? Do you remember
22   Q Okay.                                                 22   what month?
23   A There were other things that, you know, we            23   A It was maybe April.
24   were doing, so, I mean --                               24   Q They were there for two weeks in April,
25   Q All right.                                            25   then they left?


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 1   Q (By Mr. Bagley) You gave me a list of things          1    Q Are you aware of anyone engaging a design
 2   you-all did earlier.                                    2    or construction expert to review the renovations and
 3      You remember that earlier today?                     3    the construction plans?
 4   A Mm-hmm.                                               4    A No.
 5   Q Was that list comprehensive as best you can           5    Q After you did those things that you
 6   recall sitting here today about what has been done      6    described earlier, were the buildings all useable?
 7   since --                                                7       MR. FORESTNER: Objection to the form of
 8   A Yes.                                                  8    the question. You mean every building on
 9   Q -- April of 2018?                                     9    campus?
10   A Yes.                                                  10      MR. BAGLEY: Yeah. And if there were any
11   Q Okay. And would Braddy Prep have paid for             11   that weren't, that's what -- I would ask him
12   all of that, or would some other entity have paid for   12   which ones, or if it had not been determined; if
13   it?                                                     13   there are certain buildings that hadn't been
14   A I would have, I would have paid for it.               14   determined whether or not they were.
15   Q "I," meaning Braddy Prep?                             15      THE WITNESS: It hadn't been determined.
16   A "I," meaning myself or Braddy Prep.                   16   Q (By Mr. Bagley) Okay. Regarding all of them?
17   Q Okay. So it's possible that there is                  17   A Well, the -- yes. Let me -- three of the
18   documentation on the cost of some of these              18   buildings were useable.
19   renovations in your own personal checking account?      19   Q Which ones were they?
20   A Yes; or Education System Management.                  20   A Actually, I'm sorry, one -- one, two -- the
21   Q Okay. Anyone else --                                  21   president's house --
22   A No.                                                   22   Q Wait, wait.
23   Q -- who may have paid for repairs or                   23      What are you saying now: Useable, or not
24   renovations?                                            24   useable?
25   A Not that I recall.                                    25   A Useable.

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 1   Q Okay.                                                 1        for identification.)
 2   A The single-family house, useable; the                 2    A    No.
 3   library --                                              3    Q    Do you know who FOCC is?
 4   Q Okay.                                                 4    A    No.
 5   A -- useable; the gymnasium --                          5    Q    You-all -- were you aware that a
 6   Q Okay.                                                 6    construction consultant, which I believe is what FOCC
 7   A -- usable; and the administration building,           7    is, was retained in December of 2018?
 8   useable.                                                8    A No.
 9   Q And how long have they been usable? All               9    Q You were not aware of that?
10   these been useable pretty much since the beginning,     10   A Uh-uh.
11   or...                                                   11   Q Okay. Had you-all established a timeline
12   A No. After, we had to, to make some                    12   for when you would move Braddy Prep operations into
13   changes.                                                13   the East Point campus?
14   Q The, the items you listed earlier?                    14   A Well, we wanted to be -- we wanted to
15   A Yes.                                                  15   establish Braddy Prep East Point within 90 days.
16   Q Okay. The other buildings, what you --                16   Q Of what?
17   what I hear you saying is you haven't really made a     17   A Within 90 to 60 month -- 90 days to six
18   determination on the other buildings, the remaining     18   months.
19   buildings; is that correct?                             19   Q Of what?
20   A Correct.                                              20   A 2018.
21   Q Okay. Take a look at the next exhibit                 21   Q But, I mean, what point in 2018? 90 to 60
22   which is 113. Let me know if you've -- you recognize    22   days from, from when you first got the license?
23   that document.                                          23   A Right. 90 days to six months.
24      (Whereupon, the court reporter                       24   Q And what was that going to depend on?
25      marked Plaintiff's Exhibit No. 113                   25   A Renovations, obtaining COs, obtaining


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 1   this; outside of Exhibit -- if I'm not mistaken,        1    Q They did it for the whole campus?
 2   Exhibit 6. I think that's outside of Exhibit 6.         2    A Well, the -- whatever they utilized, it
 3   Q Did -- you submitted it for approval to the           3    was -- it, you know, gave rise to the entire campus
 4   landlord.                                               4    being able to have Wi-Fi.
 5      And did they approve it?                             5    Q Okay.
 6   A I believe so. Yeah. I'm sure that they,               6       MR. FORESTNER: Is that the heart of the
 7   they gave, you know, approval.                          7    campus you're talking about?
 8   Q You mentioned earlier today that you                  8       THE WITNESS: Yeah. Yes, sir.
 9   allowed a political party -- my understanding was you   9    Q (By Mr. Bagley) In April, May, June, July of
10   believe it was the democratic party -- to utilize the   10   2018, had Braddy Prep moved furniture, desks, and
11   library some; is that correct?                          11   equipment into the -- to each of the buildings on the
12   A Yes.                                                  12   campus?
13   Q And did, did you charge them for that?                13   A Not each of the buildings.
14   A Not that I recall. It's -- if you're, if              14   Q Which buildings had you moved any business
15   you're conducting training, we typically charge a       15   personal property into?
16   very nominal fee for training. And they -- that was     16   A Into the library.
17   the training site. What we did receive was -- in, in    17   Q Okay.
18   allowing them to utilize that facility for training,    18   A Desks, chairs.
19   they, in turn, upgraded our internet system or          19   Q Where did those come from?
20   something like that.                                    20   A Storage.
21   Q How did they do that? You mean Wi-Fi?                 21   Q On the property there; the warehouse?
22   A Yeah. It's very difficult to get Wi-Fi.               22   A No. We, we moved -- we had -- we purchased
23   So they were actually able to upgrade the Wi-Fi         23   furniture and we put this furniture in storage. And
24   system for the campus, which was way much more          24   then whenever we need furniture, we go and we get it.
25   valuable.                                               25   Q Okay.

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 1   A So we purchased furniture.                            1    A Yes.
 2   Q How many desks and chairs are we talking              2    Q Where did they come from?
 3   about being moved into the library back in 2018?        3      And when are you talking about? Was this
 4   Would you know?                                         4    April or May of 2018?
 5   A I wouldn't know.                                      5    A No.
 6   Q Who would know? Would that be documented              6    Q When would this have been?
 7   somewhere?                                              7    A Maybe July; poss -- maybe, maybe July. I
 8   A We'd have to ask Abbey. No. No.                       8    don't recall, but it was in 2018.
 9   Q What -- was anything else moved into the              9    Q Did anybody ever use those? Did you ever
10   library you recall?                                     10   put staff over there to occupy those desks?
11   A No.                                                   11   A No. We just had staff go and set -- you
12   Q Okay. Was any property or equipment moved             12   know, put the desks --
13   into any of the other buildings?                        13   Q Okay.
14   A Yes.                                                  14   A -- as we were preparing.
15   Q Okay. Tell me which ones.                             15   Q Okay. Was anything else moved into the
16   A Administration and old main.                          16   administration building other than the 30 desks?
17   Q Admin?                                                17   A Desks; school desks.
18   A And old main.                                         18   Q Into the administration building?
19   Q Those are two separate buildings, right?              19   A No. I'm sorry. Old main.
20   A Mm-hmm.                                               20   Q Okay. How many desks in old main?
21   Q What was moved into admin?                            21   A I don't, I don't recall.
22   A Office cubicles. Office furniture.                    22   Q Okay. Did you fill the building up with
23   Q How much?                                             23   desks?
24   A Probably 30, 30 desks.                                24   A No.
25   Q 30?                                                   25   Q Okay.


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